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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                              )
UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )
                                              )
                                              )      Case No. 17-CR-10265-DJC
SALLY ANN JOHNSON,                            )
     also known as “Angelia Johnson,”         )
     “Angela Johnson,” and                    )
     “Sally Reed”                             )
                   Defendant                  )
                                              )

       Government’s Response to Defendant’s Motion for Judicial Recommendation
                       Regarding 9 Months of RRC Placement

       The government takes no position on the defendant’s pro se motion seeking a judicial

recommendation of nine months in a residential re-entry center (“RRC”)[D. 48]. As Johnson

implicitly recognizes in her motion, which seeks a recommendation of RRC placement, not an

order for one, the choice whether and when to move Johnson from incarceration to another form

of custody is almost entirely within the discretion of the Bureau of Prisons, not within the

authority of the Court. See Muniz v. Sabol, 517 F.3d 29, 40 (1st Cir. 2008). The BOP will

consider any recommendation from the Court together with other factors, including the

availability of space at a suitable RRC. See, e.g., Bureau of Prisons, Guidance for Home

Confinement and Residential Reentry Center Placements (May 24, 2013 memorandum) at 3

(listing factors that must be assessed when deciding whether RRC placement is appropriate),

available at https://www.bop.gov/foia/rrc_hc_guidance_memo.pdf. The government suggests
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leaving the determination as to whether, and for how long, the defendant would benefit from an

RRC placement in the capable hands of the BOP.

                                                              Respectfully submitted,

                                                              ANDREW E. LELLING
                                                              United States Attorney

                                            By:               /s/ Sandra S. Bower
                                                              SANDRA S. BOWER
                                                              BRIAN A. PÉREZ-DAPLE
                                                              Assistant U.S. Attorneys


                                     Certificate of Service

       I hereby certify that a copy of this document, filed through the ECF system, will be sent

by U.S. mail today to Defendant Sally Ann Johnson, #00577-138, Federal Prison Camp, PO Box

A, Alderson WV 24910.

Dated: December 27, 2018                            /s/ Sandra S. Bower
                                                    Assistant United States Attorney




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